(ax) Case 2:15-cv-11080-MOB-APP ECF No. 16-14, PagelD.426 Filed 04/07/15 Page 1 of 19

police INTER-OFFICE MEMORANDUM Dats

Ghlot of Policg D.P.D. 868 (rev, 9/97) GENERAL ASSIGNMENT UNIT January 17, 2015
To: Assistant Chief LaShinda T. Stair (Direct)

Subject: SCRAP RELATED ARRESTS, OPERATIONS, CASES AND VIOLATIONS
From: Sergeant Rebecca McKay, General Assignment Unit

i have listed below the results of Operation Scrap-It which began in
February of 2014 and has been an ongoing effort. This effort has been
conducted utilizing the assistance of the Michigan State Police and Warren
Police Department when this operation took the General Assignment Unit outside
the boundaries of the City of Detroit.

Also included is a brief synopsis of each scrap related investigation where a
warrant was issued by the Wayne County Prosecutors Office.

MULTI-JURISDICTIONAL UNDERCOVER STING OPERATION

14201 FULLERTON - BASIC RECYCLING

The undercover officers arrived at the location and spoke to the scale
operator who examined the material and advised that he could not purchase the
material without paperwork. He indicated that he would like to. The scale
operator indicated that he may be able to buy the material with the casing
removed. Officer Barmore asked to speak with the boss and Joseph Tomlinson
came to the truck. Tomlinson told Barmore that he used to buy that “stuff all day’,
but if Detroit Police come into his business he could lose his license or go to jail.
Tomlinson told the officers to go to Pro Green or RENU in Redford. The
conversation at the time of the attempt was digitally recorded.

7TT7 W CHICAGO - FRITZ ENTERPRISES

The officers arrived to speak to the scale operator who told the officers he
would buy the material if they could produce an electrician’s license. The scale
operator looked at the material further and told the officers that probably no yards
would purchase the material. The conversation at the time of the attempt was
digitally recorded.

9100 JOHN KRONK - FERROUS PROCESSING

The officers arrived at the location and spoke to the scale operator who
started to take pictures of the city vehicle after observing the material. The
officers left the location without further interaction. An email was sent to Sergeant
McKay by Ferrous describing the event. The conversation at the time of the
attempt was digitally recorded.

To: CaseAssistant.Cbhief-heSbiaderT . Star Xireet.4, PagelD.427 Filed 04/oWapuary dd 22071 59
Subject: SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

From: Sergeant Rebecca McKay, General Assignment Unit

3100 LONYO - SIMS METAL DYNAMICS

The officers arrived at the location to speak to the scale operator who
investigated the material and told the officers to bring back paperwork for the
maierial. The scale operator further stated that if he bought the material the
COPS would arrest him without paperwork. The officers then spoke to a
Supervisor who told the officers to return with paperwork from any job and he
would purchase the material. Sergeant McKay recognized the voice to be that of
Merrick (a known employee at Metal Dynamics). The conversation at the time of
the attempt was digitally recorded.

8350 DIX - DETROIT IRON AND METAL

The undercover officers arrived at the location and spoke to the scale
operator who examined the material. The scale operator advised that he could
not buy the material. A short time later, Jerome Paciorkowski called Sergeant
McKay to inform her that persons attempted to sell the material at his yard.
Paciorkowski emailed the information on the vehicle to Sergeant McKay. The
conversation at the time of the attempt was digitally recorded.

8122 W FORT ST - SOUTHWEST METALS

The officers arrived at the location and spoke to a tall Arabic male (later
identified as Michael Yazback) and an older white male, gray hair and glasses
(later identified as Gregory Aslinger). Aslinger immediately recognized the
material as being part of a Theft Alert and told Yazback. Yazback considered
purchasing the material, and then decided to call someone he referred to as “the
boss”. Yazback said he wanted to find out how the yard could buy the material:,
“Let me see how we can buy it”. After speaking with the boss, who he referred to
as “Joe”, Yazback then advised the officers he could not purchase the material
because it is part of an Alert. The officers asked if he would buy the material with
the lead stripped off, Yazback said that the wire would still be oily and the “they”
(police) would know it. As the officers were leaving another employee
approached them and told them to unload the material. That employee was
advised “they don’t want to buy it”. The employee stated, “Well, if they said not, |
can't buy it’. The conversation at the time of the attempt was digitally recorded.

As of 6pm on the date of this operation, only one scrap yard had notified police in
regard to the attempted sale of stolen material (Detroit Iron and Metal}. This is
required under City Code 49-8-10b (5) & 49-8-10e.

15500 TELEGRAPH — PRO GREEN RECYCLING, REDEORD

The undercover officers arrived at the location, driving a City of Detroit
Public Lighting Department venicle. The officers were greeted by a lone W/M 25-

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SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

Sergeant Rebecca McKay, General Assignment Unit

30, 5'10, thin and scruffy, who appeared from the office area of the facility and
were directed to another part of the building. The officers presented the material
to the same W/M who came to the scale area. The W/M examined the material,
and with a smirk, said he could not purchase the material because it is the
subject of a Theft Alert. This conversation was digitally recorded.

After this attempted sale, the seventh using the City of Detroit truck in two
days, Sergeant McKay switched vehicles and the following three sales attempts
were made in a Detroit Police UC vehicle. The underground copper cable was
loaded in the trunk of this vehicle.

12065 TELEGRAPH — RENU RECYCLING. REDFORD

The undercover officers arrived to speak to the Scale Operator, a B/M 55-
60 who told one of the officers to take a length of the cable out of the trunk. The
two then walked it into the office area, showing the material to another B/M 35-40
wearing earrings in both ears that appeared to be in charge. The B/M refused
the material due to the fact that it is underground Edison wire. One officer
observed copper cable in the warehouse and asked why the yard could purchase
that particular copper wire and not the copper wire he was attempted to sell’? The
employee told the undercover officer that he didn’t see any copper wire. This
conversation was digitally recorded.

971 E. 8 MILE RD. - 8 MILE RECYCLING, HAZEL PARK

The undercover officers arrived at the location, spoke to the scale
operator, BM 28-32, 6’5, who observed the material and asked one officer for
paperwork. When the officer couldn’t provide paperwork for the material, the
scale operator turned him away. The officer observed men ahead of him in line
with copper wire and asked why the yard was purchasing their copper wire and
they couldn't purchase his? The officer proceeded to ask if he could put his
material with the other customer’s materia! and keep it on the same bill? The
scale operator told the officer that it doesn’t work that way and he could get in a
lot of trouble for allowing that. The scale operator further stated, “It’s on a high
stress Theft Alert brother, it’s a Copper Task Force if you’re not aware of that!”.
This conversation was digitally recorded.

1411 E. 8 MILE RD. — MICHIGAN SCRAP METAL, HAZEL PARK

The undercover officers arrived at the location; spoke with the scale
operator, B/M 48-52 (heavy set) who greeted the officers in the lot. The scale
operator took a length of the copper wire cable, told the officers to hold on and
brought it into the building out of the officer's sight. The scale operator returned
to tell the officers that he could not buy the material. He further stated, “Can't
buy that bud! No, got a Theft Alert on it. You guys be careful with it.” The scale
operator told the officer to strip the lead off the copper and bring the lead and

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Subject: SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

From: Sergeant Rebecca McKay, General Assignment Unit

copper back and then he would purchase the material. This conversation was
digitally recorded.

22200 SHERWOOD — GLE, WARREN

Due to the fact that GLE will only purchase metals from peddlers in
trucks or vans, Sergeant McKay had the officers switch vehicles; this sale was
attempted in the City of Detroit pick up.

The undercover officers arrived at the location and spoke with two scale
operators, one H/M 25 and one W/M 20 who worked together to unload the bed
of the truck. The maierial was weighed and one officer was registered using the
undercover credentials. Someone who appeared to be in charge came to the
scale and advised the W/M scale operator that the sale would have to be
recorded in a company name. The scale operator refused to make a check
payable to the undercover officers. Instead, insisted on making the check
payable to the City of Detroit (this would not make a case for the City of Detroit,
due to the fact that the copper cable is property of the City of Detroit and GLE
was making a check payable to the City of Detroit). The officers loaded the
material back into the truck and left the location. This conversation was digitally
recorded,

1411 E. 8 MILE RD. - MICHIGAN SCRAP METAL, HAZEL PARK

The General Assignment Unit returned to Michigan Scrap Metal with the
copper wire stripped of its lead casing and insulation; both the copper wire and
lead was presented for sale.

The undercover officers arrived at the location and initially spoke with an
employee different frorn the previous day, who met the officers at their vehicle.
The employee, BM 52-58 assisted one of the officers in loading the sheathed
copper wire onto a cart. The officer approached the scale and was met by the
B/M 48-52 (heavy set) who the officer had spoken to the day before (this BM had
told the officers to strip the material and return with copper wire and lead, and he
would purchase the material). The scale operator then told the officer that he was

” sorry, but he would not be able to purchase the copper after all. The officer asked
him why. The scale operator then spoke to a BM 30’s, light complexion, who sat
in the office. This man told the officer absolutely not, because the material was
the subject of a Theft Alert, and the boss said no. Before the officer left the scale
the scale operator told him he could buy the lead, just not the copper. This
conversation was digitally recorded.

5000 STECKER — DEARBORN RECYCLING, DEARBORN

The undercover officers arrived at the location and spoke with the scale
operator, WM 25. The officers presented the material for sale (the stripped wire

To: CaseAssistant. Chief-leSbinderl. Stair \bireet.4, PagelD.430 Filed 04/oMapuarydd 526fl 59
Subject: SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

From: Sergeant Rebecca McKay, General Assignment Unit

and lengths that were still intact). The scale operator immediately refused the
material and told the officers that the police had just been in the yard a few
weeks ago and confiscated over $700 worth of copper from his boss. The scale
operator said he couldn't take the chance and he also told the officers that other
yards would probably call the police on them. He indicated that he had no
intention of calling the police. This conversation was digitally recorded.

PUSH-OFF OPERATION

8350 Dix ~ DETROIT IRON AND METAL

Enforcement actions General Assignment Unit:

(8) Misdemeanor violations for Junking without a License (49-7-41)
(5) Misdemeanor violations for Junking No Junk Collectors License (49-7-61)

3100 LONYO — SIMS METAL DYNAMICS

Enforcement actions General Assignment Unit:
(8) Misdemeanor violations for Junking without a License (49-7-41)
(2) Misdemeanor violations for Junking No Junk Collectors License (49-7-61)
(3) Misdemeanor violations for Junking No Valid Drivers License (49-7-47.3)

(1) Vehicle impounded for proper ownership

(1) Misdemeanor arrest — Larceny 11043150M — Dearborn
Ronald Sebert Ramey WM 9-9-85 of 9209 Rathbone

8122 W. FORT STREET — SOUTHWEST METALS

Enforcement actions General Assignment Unit and Traffic Enforcement:
(7) Misdemeanor violations for Junking without a License (49-7-41)
(2) Misdemeanor violations for Junking No Junk Collectors License (49-7-61)
(2) Misdemeanor traffic violations
(2) Civil infraction traffic violations
(2) Vehicles impounded for proper ownership
INSPECTION & SEARCH WARRANT EXECUTIONS

22200 SHERWOOD ~ GLE SCRAP METAL

To: CaseAssistant Cbiai-heSbindel. Stair ireeti4, PagelD.431 Filed o4/oNHaauarydd c20fl So
Subject: SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

From: Sergeant Rebecca McKay, General Assignment Unit

On Tuesday, February 25, 2014 members of the General Assignment Unit
visited several scrap yards in the suburban communities north of 8 Mile Rd in
response to the rash of overhead power line thefts and underground copper
cable being stolen from City of Detroit Public Lighting Departments substations
and man holes. One of the scrap yards visited was GLE Scrap Metal.

Upon inspecting GLE, members discovered 4/0 and #6 overhead copper
wire that was oxidized (consistent with being exposed to the elements) which
was material described in three recent Theft Alerts issued by the General
Assignment Unit. The employees at the scrap yard were both unable and
unwilling to cooperate with the Detroit Police Department in relation to the
material, questioning our presence as it relates to jurisdiction. The General
Assignment Unit photographed the material and called on Detroit Public
Lighting to identify the copper wire in the bin (the identity was made as being
consistent with the copper wire being stolen from City of Detroit PLD recenily.
Additional investigation will determine if any other utilities in southeast Michigan
have reported the same thefts). The General Assignment Unit backed off with
the plan of returning with a Search Warrant and Warren Police, on a later date.

On Friday, February 28, 2014 members of the General Assignment Unit,
armed with a Search Warrant, and with the assistance of the Warren Police
Department returned to GLE Scrap Metal.

The General Assignment Unit seized the bin containing suspected City of
Detroit Public Lighting Department property and discovered another section of
large gage copper cable consistent with the material presently being stolen
from the City of Detroit substations and man holes in the area of Warren and I-
96 Service Drive. GLE was unable to provide any documentation for any of the
copper wire seized from their premises.

Warren Police Department issued (16) Misdemeanor ordinance violations
after being alerted to the violations by the Detroit Police. The violations were
issued for Failure to Tag and Hold (iNICL 445.429) and Failure to comply with
presenting required records upon request of any law enforcement officer (MCL
445.427). The Warren Police Department will be following up with their
Business Licensing Department and requesting a Show Cause hearing fro GLE
Scrap Metal. Warren Police also indicated that they will seek additional Tag and
Hold violations against the owner of the company Nathan Zack, who was not
present at the time of the Search Warrant execution.

The General Assignment Unit was contacted by Officer Scott Taylor of
Warren Police Department to assist in subsequent inspections involving GLE.
Sergeant McKay has assisted Officer Taylor in the inspection process and
knowing what to “look out” for while inside the scrap yard. Officer Taylor has
issued several additional violations to GLE as a result.

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SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

Sergeant Rebecca McKay, General Assignment Unit

8122 W. FORT STREET —- SOUTHWEST METALS
1330 INDUSTRIAL, DEARBORN — INDUSTRIAL RECYCLING

The General Assignment Unit conducted an inspection of the entire
premises at 8122 W. Fort Street, issuing four (4) Misdemeanor Ordinance
Violations to the General Manager.

# One (1) - Unable to produce records on copper wire transaction (49-8-5)
e One (1) - Fail to Tag and Hold (MCL 445.429 (f))
© Two (2)- Failure to record license plate number on receipt (49-8-25)

The General Assignment Unit (GAU) began the inspection at 8122 W. Fort
St armed with a contingent Search Warrant for 1330 Industrial, Dearborn, Mi. (a
facility used by Southwest Metals to process their copper wire). During the
inspection the GAU discovered a piece of underground lead encased copper wire
in plain view sitting on a work bench in a copper wire storage area off the front
office. In addition, the GAU discovered what appeared to be a couple of pieces of
4/0 copper wire with paper covering (consistent with the DTE Energy reported
theft frorn a couple of days ago).

The inspection continued with the General Assignment Unit reviewing video
footage from March 14, 2014 (the day the Confidential Informant reported
Southwest Metals purchased 4/0 copper wire from a peddler and failed to tag and
hold the material, then removed the material from the premises). The GAU
confirmed the information given by the informant up to the point where the Cl
appears to have been advised to remove the material from the tag and hold bin
and wheel the material toward the outside of the building. The GAU attempted to
continue reviewing video to confirm the material left the facility, but the video
equipment failed. The inspection continued and the above ordinances were
issued.

Sergeant Chapa and crew maintained a surveillance position at 1330 Industrial
prior to and during the inspection conducted at 8422 W. Fort St. Sergeant Chapa
had reported prior to the inspection that a semi-tractor trailer was backed into an
open bay door and being loaded with material at 1330 Industrial. The semi
remained at the location for a few hours. Sergeant McKay advised Sergeant
Chapa and crew that she nad arrived at 8122 W. Fort St. to begin the scrap yard
inspection and the semi truck pulled away from 1330 Industrial, immediately.
sergeant Chapa and crew affected a traffic stop and reported a large amount of
copper wire in the trailer of the semi. DTE Energy Investigator Derek Hassan
made their location and further identified a large amount of the copper on board
as being 4/0 copper wire consistent with the material being stoien from their
overhead power lines on the west side of Detroit and consistent with the
information given by the Confidential Informant. The truck was impounded for
further inspection of the material.

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SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

Sergeant Rebecca McKay, General Assignment Unit

After the discovery of stolen copper wire on the premises of 8122 W. Fort St.
and the review of video footage, Sergeant McKay advised Sergeant Chapa and
crew to secure 1330 Industrial for a search. Upon completion of the inspection at
Southwest Metals, a search commenced at 1330 Industrial. Several bins were
dumped and inspected. One card board box and one fiber glass box containing
4/0 copper wire was seized from the premises and secured. Further investigation
of the material is needed to determine the complainant.

Southwest Metals has agreed to provide the video surveillance for March 14,
March 17, March 19, and March 20 for further review. The scrap yard insists the
footage was not lost. The GAU used discretion and did not issue any ordinance
violations for the video system at this time.

The video provided was reviewed as far as checking to confirm that all of the
footage was present. There is several hours of video missing in the provided
discs.

The semi trailer was searched and several bins of copper wire needed to be
inspected by experts at DTE Energy and Public Light Department; these bins
remained on the evidence tag while most of the material in the trailer was
released to Southwest Metals. The bins remaining on evidence were further
inspected and the material contained inside some of the bins was inconclusive to
belonging to either Public Lighting Department or DTE Energy, although it is
definitely commercial grade copper wire. These inconclusive bins were released
to Southwest Metals.

Two bins remain on evidence; one containing underground copper wire and
one containing 4/0 copper wire consistent to the material that had been recently
stolen from utility poles overhead and from substations and man holes. This wire
was described in several Theft Alerts that had been issued in the same time
frame. Southwest Metals failed to notify the police having reason to believe that
the material on their premises was reported stolen. In addition, the General
Assignment Unit knows that the scrap yard employees have knowledge that oily
wire is underground cable as discussed in the recorded conversation with
undercover oificers attempting to sell the same material to the scrap yard in
February 2014. This case is ongoing.

3140 FARNSWORTH — PRIVATE RESIDENCE

Search Warrant execution - The Farnsworth location is an illegal scrap site that
has also been reported to police by Citizens in the area as being a nuisance. GAU
Members obtained a search warrant for the illegal electric connection at the home
and with the assistance of Sergeant Geelhiood of the Narcotics Section executed
the search warrant.

To: CaseAssistant C biel _haSpindapl . Stair (Bireeti4, PagelD.434 Filed o4/oHanuarmydd,2BfiS9
Subject: SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

From: Sergeant Rebecca McKay, General Assignment Unit

Members identified Tony Roberson, BM 1-27-90 of 3140 Farnsworth, Byron
Roberson, BM 6-20-91 of 3140 Farnsworth, & Charles Bolton, BM 10-23-64 of
3140 Farnsworth.

During the search of the premises Narcotics officers discovered a rifle and a
handgun with a defaced serial number (Narcotics is preparing a not in custody
warrant for the weapon). Proof of residency for Tony Roberson, as well as
numerous scrap yard receipts was found on the premises. The majority of the
receipts were for scrap metal sales at Southwest Metals, others were for sales a
Mt. Clemens Metals and City Recycling. DTE Energy disconnected an illegal
electric connection as well as an illegal gas connection that was venting natural
gas (leaking) into the neighborhood.

The GAU impounded a 14’ UHaul that was littered with evidence of scrapping
and was also described in the original Citizen Complaint as being used to
transport the scrap metal to and from the residence.

Tony Roberson was advised of his Constitutional Rights and interviewed by
GAU members. Roberson made a full confession to the weapons found on the
premises, to the illegal scrapping operation, to paying someone to illegally restore
the electricity and gas at the residence, to knowingly stealing both electricity and
gas, to stealing scrap metal from 5140 Riopelle (Adamo Demolition site and the
subject of several bitter scrapping complaints). Roberson admits to loading up the
UHaul (which he renis frequently for the purpose of scrapping) with the stolen
metais, moving the material to 3140 Farnsworth, preparing the metals by cleaning
and/or sorting, then loading the metals back into the UHaul and using the same
vehicle to sell the material to the above mentioned scrap yards.

During the interview Roberson indicated that Mt. Clemens Metals will purchase
any scrap metal he presents for sale, “no questions asked”. The GAU plans to set
up a sting operation on Mt. Clemens Metals using Roberson in the following
weeks (he has agreed to cooperate). A not in custody warrant will be issued for
Roberson in regard to the Larcenies at 5140 Riopelle and the Selling of Stolen
Non Ferrous Metals at the various scrap yards.

GAU members notified Community Policing Officers in regard to the Blight
found. Neighborhood Police Officers made the scene to investigate and later
issue Blight related violations. Neighborhood Police Officers will follow up with
efforts with the city to have the home vacated and secured.

The GAU issued ordinance violations to Byron Roberson and Charles Bolton
for Scrapping w/o a License.

6500 E. MCNICHOLS — MCNICHOLS SCRAP RECYCLING

To: Case Assistant Ohief vathinde T Aktaimn(Direst)4, PagelD.435 Filed 04/07#pnUaAGL 1BOK5] 9
Subject: SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

From: Sergeant Rebecca McKay, General Assignment Unit

The General Assignment Unit conducted an inspection of the entire
premises issuing one Misdemeanor Ordinance Violation to the Owner.

« Fail to obtain a written receipt or other documentation for material the
dealer may have knowledge belongs to a business entity (49-8-10)

6464 STRONG — STRONG STEEL

The General Assignment Unit conducted an inspection of the entire premises
issuing six Misdemeanor Ordinance Violations to the General Manager.

e Two (2) - Fail to obtain finger or thumb print on receipts (49-8-5)

e Two (2) — Fail to record vehicle license plate numbers (49-8-5a)

® Two (2).— Fail to maintain a Declaration of Truth Statement on receipt
(49-8-5 (5))

14201 FULLERTON — BASIC RECYCLING

The General Assignment Unit conducted an inspection of the entire premises
issuing fifteen (15) Misdemeanor Ordinance Violations to the General Manager.

@ One (1) - Fail to obtain finger or thumb print on receipts (49-8-5)

e One (1)- Unable to provide a valid business license (49-8-21)

e One (1) — Fail to post business license in conspicuous place (49-8-25)

¢ One (1) — Fail to maintain video surveillance for 30 days (49-8-11)

e One (1) - Fail to photocopy valid drivers license or other valid ID (49-8-5)

e Three (3) — Fail to record ID number on receipt nonferrous transaction
(MCL445.427(2a)

® Seven (7) — Fail to maintain a Declaration of Truth Statement on receipt
(49-8-5 (5))

During the inspection the General Assignment Unit discovered a vehicle on
the premises that was cut into several pieces (firewall, doors, quarter panels,
hood, roof, and other parts). The firewall was present with a vehicle
identification number (VIN) exposed. The VIN was run and the vehicle was
reported stolen on March 11, 2014 (OCA#1403110169). The vehicle was
impounded and placed on evidence. Further investigation revealed that a
peddier, Damar Atkins, BM 3-8-87 of 3238 Vicksburg had left the vehicle parts
in the yard just prior to the General Assignments arrival.

An arrest warrant for Mr. Atkins was issued for Receiving and Concealing
Stolen Property and Selling Stolen Non Ferrous Metals. Basic Recycling was
referred to the City of Detroit Business Licensing Department for review.

To: Case Assistant Chief uathinde T RStaiNDireet)4, PagelD.436 Filed 04/07 danuaRyyt/1 20F5.9
Subject: SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

From: Sergeant Rebecca McKay, General Assignment Unit

5911 COMMONWEALTH — TRUINE METALS

The General Assignment Unit conducted an inspection of the entire premises
at 5911 Commonwealth, issuing twelve(12) Misdemeanor Ordinance Violations
to the Owner, Israel Zygelman of West Bloomfield.

® Enter w/o Owners Permission (38-4-1)

e Fail to Tag and Hold (MCL 445.429)

* Fail to subscribe to an iniernet based theft reporting system
(MCL 445.4371)

Fail to maintain records of purchase transactions (MCL 445.427)

Fail to post mandatory notice in accordance with Detroit City
Code (49-7-10)

Fail to possess a valid business license (49-8-21)

Fail to photo copy drivers license or ID’s of persons selling scrap
(49-8-5)

No Declaration of Truth on receipts (no receipts) (49-8-5)

No finger prints taken (49-8-5)

Fail to install video surveillance system (49-7-11)

Fail to comply with request to present records (49-8-5)

Fail to maintain 8’ fence surrounding property (49-8-2)

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The Traffic Enforcement Unit impounded several unregistered vehicles that
had been left on the city easement without having been moved for several weeks.
Among the vehicles were large scale flatbed tow trucks, dump trucks and heavy
construction machinery. All of the vehicles were unregistered with the Michigan
Secretary of State.

1988 Ford VIN 9BFXH70P8JDMD4208 ~ NO LP

No Record - Chevy VIN 1GBL/7D1F6DV1301610 —- NO LP
1991 Ford VIN 1FDY43ZA8MVA04303 — NO LP

1977 Ford Stake VIN T80JVZ06089 — NO LP

1987 Ford VIN 1EDYY82A0H4A30769 — NO LP

Yellow Caterpillar Road Grader

Yellow Caterpillar Bulldozer

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The City of Detroit BSEED and Property Management also made the location
and conducted an inspection of the premises.

The owner, Mr. Zygleman, cleared the remaining debris from the front of the
building and is in the process of clearing out the interior of 5911 Commonwealth
as a result of this enforcement action.

To: Case Assistant Ohief Washinde | asta Direet.4, PagelD.437 Filed 04/07dahuarygtY 1205519
Subject: SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

From: sergeant Rebecca McKay, General Assignment Unit

INVESTIGATIONS & WARRANTS

The General Assignment Unit investigates, conducts interviews and
interrogations, prepares and executes search warrants, prepares the warrant
packages, and presents the warrant packages to the Wayne County Prosecutors
Office.

14GA001 — Marshall Wilson, BM of Redford — Supervisor/Scale Operator
Detroit Iron & Metal — purchased catalytic converters subject of two very
descriptive Theft Alerts.

The Wayne County Prosecutors Office Issued a warrant for Wilson charging
Buying Stolen Non Ferrous Metals.

As a result of this case and others from previous years involving Marshall
Wilson, the General Assignment Unit notified the city of Detroit Business
Licensing Unit and Deiroit lron & Metal is under review and expecied to enter into
a Stipulated Agreemeni with regard to certain conditions and monitoring by the
city in order to continue to do business in the city of Detroit.

14GA010 — Lance Provost, WM of Taylor — Peddler/Scrapper — sold a span of
copper wire consistent with 4/0 Public Lighting Department property.

The Wayne County Prosecutors Office issued a warrant for Provost charging
Selling Stolen Non Ferrous Metals.

The case involved Dearborn Recycling, located in Dearborn Mi. Dearborn
authorities were notified to monitor the location.

14GA018 — Damar Atkins, BM of Detroit — Peddler/Scrapper — sold a cut up
motor vehicle to Basic Recycling. The General Assignment Unit was conducting
a scrap yard inspection at ihe location (described above) and discovered the
vehicle in the rear of the location. Upon checking the VIN it was discovered that
the vehicle was stolen, just one day prior.

The Wayne County Prosecutors Office issued a warrant for Atkins charging
selling Stolen Non Ferrous Meials.

As a result of this case involving Basic Recycling, the General Assignment
Unit notified the city of Detroit Business Licensing Unit and Basic Recycling has
entered into a Stipulated Agreement with regard to certain conditions and
monitoring by the city in order to continue to do business in the city of Detroit.

14GA027 — Scott Milbank, WM of Dearborn Heights — Peddler/Scrapper — sold
several hundred pounds of brass buss bar to RENU Recycling in Redford.

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Subject: SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

From: Sergeant Rebecca McKay, General Assignment Unit

Milbank was a contract employee ai General Motors and was stealing the metal
from the Detroit Hamtramck Assembly Plant.

The Wayne County Prosecutors Office Issued a warrant for Milbank charging:
(10} counts of Larceny in a Building and (10) counts of Selling Stolen Non
Ferrous Metais.

Redford authorities are aware of the issues in regard to RENU Recycling.

14GA028 — Marcus Fitzwater, BM of Detroit — Peddler/Scrapper — arrested
breaking into a Detroit Firehouse stealing radiators. When the defendant was
interviewed he indicated that he intended on selling the stolen property to
Southwest Metals. The defendant also indicated that he sells stolen metals at
Lafayette Recycling and Detroit Iron and Metal.

The Wayne CGounty Prosecutors Office Issued a warrant for Fitzwater
charging Breaking and Entering w/Intent & Attempt Selling Stolen Metals.

14GA034 - Tony Roberson, BM of Detroit — Operating an Illegal Scrap
House/Peddler/Scrapper — Search warrant execution at his home on Farnsworth
where the defendant was operating an illegal scrap yard, stealing metals from an
Adamo Demo site, ard stealing electricity and gas utilities. During the interview
of the defendant, he admits to selling the stolen metals from the Adamo site to
Southwest Metals and wire from the site to Mt. Clemens Metals, Harrison Twnsp
using a U Haul he renied.

The Wayne County Prosecutors Office Issued a warrant for Roberson
charging (2) counts Malicious Destruction Utility Property, Utility Fraud>500, &
Selling Stolen Metals.

14GA035 — Darrell Thomas, BM of Detroit & Darrien Dockery, BM of Detroit
— Peddler/Scrapper — both caught on surveillance camera stealing rooftop
commercial air conditioning units. This was a MEDIA case. These defendants
were processed as Not In Custody warrants and no interviews were conducted.

The Wayne County Prosecutors Office Issued a warrant for Thomas and
Dockery charging both with Larceny 1K-20K, Receiving and Concealing Stolen
Property 1K-20K, and Malicious Destruction of Property 1K-20K.

14GA038 -— Theophis Rutherford, BM of Detroit — Peddler/Scrapper -—
defendant was arrested after he broke into a Detroit Public School to scrap
metals. The defendant was processed as a Not In Custody and no interview was
conducted.

To: ~—- Case Assistqni Chief vathinde T StainBirest)4, PagelD.439 Filed 04/07A#emuUaRYGh’ 1 2QK5 9

Subject:

From:

SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

Sergeant Rebecca McKay, General Assignment Unit

The Wayne County Prosecutors Office Issued a warrant for Rutherford
charging Braking and Entering wiintent & Possession of Burglary Tools.

14GA041 — Terrell Roget, BM of Detroit — Peddler/Scrapper — arrested stealing
metals from Ferrous Processing (a scrap yard). The defendant was interrogated
and admits to selling stolen metals to Southwest Metals and illegal after hour's
locations.

The Wayne County Prosecutors Office Issued a warrant for Roget charging
Attempt Sell Stolen Metals, Larceny $200-$1000, and Receiving and Concealing
Stolen Property $200-$1000.

14GA042 — Ronnie Bailard, WM of St. Clair Shores & Shawn Golden, BM of
Detroit — Peddler/Scrappers — defendants were arrested stealing copper wire
from a city of Detroit Public Lighting Department Yard. The defendants were
interrogated and indicated that they scrap at Detroit fron & Metal and Lafayette
Recycling.

The Wayne County Prosecutors Office Issued a warrant for Ballard and
Golden charging Attempt Sell Stolen Metals, Larceny 1K-20K, and Receiving and
Concealing Stolen Property 1K-20K

14GA044 — Dallas Peterson, BM of Detroit — Peddler/Scrapper — sold new
construction industrial brass downspouts stolen from General Motors
construction site to Southwest Metals. A Theft Alert was issued and Southwest
Metals responded by calling police as required by City Code 49-8-10b (5) & 49-8-
10c.

The Wayne County Prosecutors Office Issued a warrant for Peterson charging
Larceny 1K-20K, Receiving and Concealing Stolen Property 1K-20K, Seil Stolen
Metals, & Attempt Sell Stoien Metals.

14GA048 — Alvin Naugles, BM of Detroit and Paul Harris, BM of Detroit —
Peddler/Scrapper — both defendants involved in the sale and attempted sale of
stolen metal caris stolen fromm a local business. The carts were valued at over
$1,000. A Theft Alert was issued and Southwest Metals called police in response
to purchasing the carts as required by City Code 49-8-10b (5) & 49-8-10c);
providing the peddler transactions receipts as required by State Statute MCL
445.427.

Although the Southwest Metals Manager/Scale operator who inspected the
carts on three occasions (turning the peddlers away twice and purchasing the
material on the third time) refused to give a statement to police in regard to the
incident, he did offer a handwritten statement later claiming the peddlers “snuck
the cart in on me”.

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From: Sergeant Rebecca McKay, General Assignment Unit

A copy of the transaction which was preserved on video and provided to the
police department, as required by City Code 49-8-11, shows the defendant's
attempting two sales; the cart was inspected by the scale operator and turned
away twice. Later, defendant Naugles returns with the cart which appears to be
in two pieces. The Southwest Metals employee inspects the load a third time and
purchases the cart.

The Wayne County Prosecutors Office Issued a warrants for Naugles and
Harris; charging Naugles with Receiving and Concealing Stolen Property 1K-
20K, Sell Stolen Metals, & Attempt Sell Stolen Metals and charging Harris with
Receiving and Concealing Stolen Property 1K-20K& Attempt Sell Stolen Metals.

14GA057 — Ronald Pollard, 8M of Detroit — Peddler/Scrapper — defendant
arrested after he was caught by police cutting DTE Energy underground cable
from a man hole. The defendant was interrogated and would only say that he
scraps at an illegal after nour’s location.

The Wayne County Prosecutors Office Issued a warrant for Pollard charging
Attempt Larceny 1K-20K, Malicious Destruction Utility Property, Possession
Burglary Tools, & Attempt Sell Stolen Metals.

14GA058 — Jeffery Beauford, BM of Detroit — Peddler/Scrapper — defendant
was arrested after he was caught breaking into a Detroit Public School stealing
metals to scrap. The defendant was interviewed and refused to say where he
scraps his metal.

The Wayne County Prosecutors Office Issued a warrant for Beauford
charging Larceny in a Building & Attempt Sell Stolen Metals

14GA063 — Jerme! Taylor, BM of Detroit — Peddler/Scrapper — defendant stole
new industrial sized copper piping from suburban business. Lafayette Recycling
called the General Assignment Unit after Taylor attempted to sell the material
with no documentation. The General Assignment Unit investigated the incident
and found that SIMS Metal Dynamics also turned Taylor away the same day
attempting to sell the same copper pipes.

The General Assignment Unit requested records from Southwest Metals for
Taylor and as required by State Law MCL 445.427 the scrap yard provided the
sales receipts. Southwest Meiais had purchased the material from the defendant
without requiring documentation afier two other nearby scrap yards had refused
the purchase.

The Wayne County Prosecutors Office Issued a warrant for Taylor charging
Selling Stolen Metals.

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From: Sergeant Rebecca McKay, General Assignment Unit

14GA072 — William Hayes Jy, BM of Detroit — Peddler/Scrapper - defendant
was caught on camera by WXYZ using a torch to cut industrial sized |-beams
from a City of Detroit building. The investigation led the GAU to Southwest
Metals afier identifying the registered owner of the vehicle.

Southwest Metals provided the police transactions records for Hayes as
required by Statute MCL. 445.427. After review, it was discovered that Hayes had
sold. Southwest Metals processed industrial sized I-Beams described as
“prepared structural steel” on several occasions Hayes (this is not material any
scrap yard should purchase without documentation, work order, contract, permit
paperwork, etc).

Southwest Metals provided video as required by City Code 49-8-11 showing
the same type of |-beams seen in the WXYZ video being sold from the back of a
mini van.

The Wayne County Prosecutors Office Issued a warrant for Hayes charging
Selling Stolen Metals & Larceny $22-$1000.

14GA080 — Miguel Ortega, WM of Detroit — Peddler/Scrapper - defendant was
arrested stealing metals from the closed Southwest High School. Upon
investigation it was discovered that the defendant has sold metals (76) times to
Southwest Metals and (59) times to Detroit Iron and Metal.

The Wayne County Prosecutors Office Issued a warrant for Ortega charging
Attempt Sell Stolen Metals.

14GA086 — Douglas Oswald, WM of Detroit & Daniel Cadorin, WM of Detroit
— Peddler/Scrappers -- the defendants were arrested scrapping out a southwest
Detroit commercial business. Upon interrogation the defendants indicated that
they scrap the meta! at Southwest Metals.

The Wayne County Prosecutors Office Issued a warrants for Oswald and
Cadorin charging Breaking and Entering w/Intent, larceny in a Building, & Sell
stolen Metal.

14GA087 — Gardnet Bush, BM of Detroit, Kaylen Banks, BM of Detroit &
Phillip Esters, BM of Detroit — Peddler/Scrappers — defendants were arrested
breaking into a vacant home and stealing metals to sell at a scrap yard. The
defendants were interrogated and indicated that they scrap their metals north of
8 Mile Rd in Hazel Park.

The Wayne County Prosecutors Office Issued a warrants for Bush, Banks and
Esters charging Breaking and Entering w/intent, larceny in a Building,
Possession Burglary Tools & Sell Stolen Metals.

To: Case Assistant hist eShind® T RtainDiregh 4, PagelD.442 Filed 04/07#PSUBYgH 1?7U5 9
Subject. § SCRAP RELATED ARRESTS, OPERATIONS, VIOLATIONS AND CASES

From: Sergeant Rebecca McKay, General Assignment Unit

14GA089 — Joseph Fawaz, WM of Dearborn — Scrap Yard Owner — defendant
being the owner of Southwest Metals had been storing photo copies of customer
identification cards/drivers licenses in an area not “readily accessible” to his
employees to produce to law enforcement for review. It is unknown how many
customer ID's were maintained unavailable to his employees.

The Wayne County Prosecuters Office Issued a warrant for Fawaz for Failure
to keep records readily accessible for review MCL 445.427 (Peddler Rodney

Briggs)

14GA091 — Jason Newsome, Wi of Detroit, Larry Hollander, WM of Detroit,
Daniel Guzman, WWM of Detroit, Justin McMahon, WMH of Detroit, and Shawn
Ross, WM of Detroit -- Peddier/Scrappers — defendants were arrested breaking
into the yard of a Southwest Detroit Commercial business stealing metals to sell
at the scrap yard. The defendants were interrogated and indicated that they sell
their metals outside of the city. The General Assignment Unit received
information that the wire has been sold at a scrap yard in Wyandotte.

44GA096 — Gregory Aslinger, WM of Taylor — Scrap Yard Manager Southwest
Metals - Upon conducting an inspection Southwest Metals failed to Tag and Hold
heavy gage copper wire that had been sold on March 14, 2014 as described by a
Confidential Informant (who provided a written statement). The ticket#14411128
was re-issued after it was learned that the ticket had been dismissed by the
prosecutor for an unknown reason and without notification to the OIC.

The misdemeanor warrant request was prepared at the request of APA
Bresnahan at the WCPO and reviewed by APA Doherty.

During this inspection wire that was the subject of several Theft Alerts was
found on the premises.

Several City Code records violations were sited on this date as well, with
wamings being verbally issued for some violations.

The Wayne County Prosecutors Office Issued a warrant for Aslinger charging
Failure to Tag and Hold MCL 445.429 (this was a re-issue of the ticket described
above).

14GA102 — Gregory Aslinger, WM of Taylor - Scrap Yard Manager Southwest
Metals — The General Assignment Unit requested records for a peddler, Ronald
Hubbard, WM of Detroit. Hubbard is the scrapper responsible for the house
explosions in the 2400 block of Oakdale recently. The General Assignment Unit
received records from Southwest Metals showing that Hubbard had sold metal

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From: Sergeant Rebecca McKay, General Assignment Unit

(49) times since January 1, 2014 to the scrap yard. When the General
Assignment Unit requested the photographs of material beginning July 1, 2014,
Southwest Metals was unable to produce ferrous or non ferrous scale
photographs of the material as required by law.

A warrant was prepared for both Gregory Aslinger (Manager) and Joseph
Fawaz (Owner) as both would be responsible for ensuring that the proper
procedures are in place and in compliance with current laws.

The Wayne County Prosecutors Office Issued a warrant for Aslinger charging
Failure to Take Photograph of Scrap Metal MCL 445.427,

14GA101 — Jerome Paciorkowski, WIM of Brownstown — Scrap Yard Manager
Detroit lron and Metal - The General Assignment Unit requested records for a
peddler, Ronald Hubbard, WWM of Detroit. Hubbard is the scrapper responsible for
the house explosions in the 2400 block of Oakdale recently. The General
Assignment Unit received records frorn Detroit Iron and Metal showing that
Hubbard had sold metal (119) times since January 1, 2014 io the scrap yard.
When the General Assignment Unit requested the photographs of material
beginning July 1, 2014, numerous violations were found due to the fact that
Detroit [ron and Metal was failing to take proper photographs of the metal inside
vehicles on the ferrous scale.

A warrant was prepared for both Jerome Paciorkowski (Manager) and Fred
Cahn (Owner) as both would be responsible for ensuring that the proper
procedures are in place and in compliance with current laws.

The Wayne County Prosecutors Office Issued a warrant for Paciorkowski
charging Failure to Take Photograph of Scrap Metal MCL 445.427.

14GA103 - Jerome Paciorkowski, WM of Brownstown- Scrap Yard Manager
Detroit Iron and Metal — defendant was issued an ordinance violation in January
2014 and the ticket was never processed through 36" District Court, therefore
never adjudicated. The General Assignment re-issued the ticket on a warrant
request (making it easier to track) for failure to Tag & Hold after the scrap yard
was found to be processing heavy gage copper wire prior to the Tag & Hold
requirement (MCL 445,429) had expired.

The Wayne Courity Prosecutors Office Issued a warrant for Paciorkowski
charging Failure to Tag & Hold MCL 445.429.

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From: Sergeant Rebecca McKay, General Assignment Unit

REBECCA L. MCKAY
Sergeant
General Assignment Unit

